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                          UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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11
      LIGAYA JENSEN,                           Case No. 5:21-cv-01195-CAS (AFM)
12
                          Petitioner,
13             v.                              JUDGMENT
14
      MERRICK B. GARLAND, United
15    States Attorney General, et al.,
16                        Respondents.
17

18          This matter came before the Court on the Petition of LIGAYA JENSEN, for a
19    writ of habeas corpus. Having reviewed the Petition and supporting papers, and
20    having accepted the findings and recommendation of the United States Magistrate
21    Judge,
22          IT IS ORDERED AND ADJUDGED that the Petition is denied in part, granted
23    the petition in part, and requiring Respondent to release Petitioner from custody
24    unless within 28 days of entry of Judgment, Petitioner is granted a custody review
25    ///
26    ///
27    ///
28
Case 5:21-cv-01195-CAS-AFM     Document 27     Filed 05/03/23     Page 2 of 2 Page ID
                                    #:1252


  1   hearing before an immigration judge, at which the government shall justify by clear
  2   and convincing evidence Petitioner’s continued detention.
  3   DATED: May 3, 2023
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  5                                         _____                                   ___
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                                                  CHRISTINA A. SNYDER
                                             UNITED STATES DISTRICT JUDGE
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